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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN
_________________________________________________________________________________________

UNITED STATES OF AMERICA,

                                       Plaintiff,                              ORDER
       v.
                                                                            11-cr-65-wmc
TIMOTHY WHITEAGLE, CLARENCE
PETTIBONE and DEBORAH ATHERTON,

                                   Defendants.
__________________________________________________________________________________________

       Attached for the parties’ consideration is a superseding draft of the post-trial jury instruction

that fills in gaps and corrects errors in the draft sent out yesterday afternoon. The best approach is

to discard yesterday’s post-trial instructions and replace them with the attached set.

       In order to provide the parties adequate time to consider all of the materials provided by the

court, the submission deadline for the final pretrial conference is extended to April 2, 2012.




       Entered this 30th day of March, 2012.

                                               BY THE COURT:

                                               /s/

                                               STEPHEN L. CROCKER
                                               Magistrate Judge
